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AO 91 (Rev. 11/11) Criminal Complaint AUST a fa Bibeci FE
UNITED STATES DISTRICT COURT = EL
NORTHERN DISTRICT OF ILLINOIS yap 97. 994g

WESTERN DIVISION
THOMAS G. BRUTON
UNITED STATES OF AMERICA CLERK, U.S. DISTRICT COURT
CASE NUMBER:
Vv. 19 GR 5g01 6
FLOYD E. BROWN
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge

and belief.
On or about March 7, 2019, at Rockford, Illinois, in the Northern District of Illinois, Western

Division, the defendant(s) violated:
Code Section Offense Description

Title 18, United States Code, Section attempted to kill Victim A, a Special Deputy

1114 United States Marshal assisting Deputy United
States Marshals of the United States Marshal's
Service, an agency of the United States
Government, while such Deputy United Sates
Marshals were engaged in the performance of
official duties.

This criminal complaint is based upon these facts:

_X_ Continued on the attached sheet. eee

 

 

OBREMY K*SMITH
Special Agent, Federal Bureau of Investigation
(FBI)
Sworn to before me and signed in my presence. » 7
Date: March 7. 2019 = aa
Jt udge’s signature
City and state: Rockford, Illinois TAIN D. JOHNSTON, U.S. Magistrate Judge

 

Printed name and Title
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS “
AFFIDAVIT

I, JEREMY K. SMITH, being duly sworn, state as follows:

1. Tam a Special Agent with the Federal Bureau of Investigation, and have
been so employed since approximately March 2017. My current responsibilities
include the investigation of violent crimes, including, among others, murder,
attempted murder, bank robbery, firearms offenses, and the apprehension of violent
fugitives.

2. This affidavit is submitted in support of a criminal complaint alleging
that FLOYD E. BROWN has violated Title 18, United States Code, Section 1114.
Because this affidavit is being submitted for the limited purpose of establishing
probable cause in support of a criminal complaint charging BROWN with attempting
to kill an officer or employee of an agency of the United States, I have not included
each and every fact known to me concerning this investigation. I have set forth only
the facts that I believe are necessary to establish probable cause to believe that the
defendant committed the offense alleged in the complaint.

3. This affidavit is based on my personal knowledge and information
provided to me by other law enforcement agents.

4, On the morning of March 7, 2019, officers of the U.S. Marshal’s Great

Lakes Regional Fugitive Task Force (hereafter “Task Force Officers”) attempted to

execute state warrants for the arrest of FLOYD E. BROWN. Among those Task Force
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Officers was Victim A, a Special Deputy U.S. Marshal who is a federally deputized
Task Force Officer of the U.S. Marshal’s Service tasked from the McHenry County
Sheriffs Office. Deputy U.S. Marshals also participated in the attempted execution
of state warrants.

5. Task Force Officers located BROWN and BROWN’S girlfriend at a hotel
located at 747 North Bell School Road, Rockford, Illinois. Task Force Officers learned
that BROWN and BROWN’S girlfriend had been staying in Room 305 of that hotel.
Task Force Officers observed BROWN’S girlfriend in the hotel prior to attempting to
execute the warrant. Hotel staff confirmed to a Task Force Officer that BROWN’S
girlfriend was staying in Room 305.

6. At approximately 9:15 a.m., a Task Force Officer knocked on the door to
Room 305 and identified officers as law enforcement officers. Other Task Force
Officers, including Victim A, were positioned around the exterior of the hotel at this
time. A Task Force Officer at the door of Room 305 heard a male voice from inside the
door yell, “Don’t do it.” A Task Force Officer heard an individual come to the door but
not open the door. Task Force Officers used a key to open the door but noticed that
the interior swing lock was still engaged. The individual who came to the door, later
identified as BROWN’S girlfriend, was at the door stating that she wanted to get out.
Task Force Officers continued to hear a male voice yelling from inside the room.
Gunfire then started coming through the hotel door and walls of Room 305 toward

the Task Force Officers.
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Ts Victim A was positioned on the northeast side of the hotel during this
time. After firing at the Task Force Officers outside the hotel door, BROWN fled from
the hotel room via a third-story window. As BROWN fled, BROWN shot at Victim A,
striking Victim A in the head. Victim A suffered life-threatening injuries as a result
of the shooting and was transported to a nearby hospital. Victim A was engaged in
the performance of official duties as a federally deputized Task Force Officer of the
U.S. Marshal’s Service at the time and assisting Deputy U.S. Marshals in the
performance of their official duties.

8. BROWN fled from the hotel area in a vehicle. Law enforcement officers
pursued BROWN and located him on an expressway in the Bloomington-Normal
area. During the pursuit, BROWN shot at law enforcement officers multiple times

using a long gun.

FURTHER AFFIANT SAYETH NOT.

ZFC

/SEREMY K.SMITH
Special Agent, Federal Bureau of
Investigation

SUBSCRIBED AND SWORN to before me on March 7, 2019.

WR
IAIN D. JOHNSTON
United States Magistrate Judge
